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                               No. 23-13368

            In the United States Court of Appeals
                   for the Eleventh Circuit

                          THE STATE OF GEORGIA

                                                 Plaintiff-Appellee,
                                     v.

                             JEFFREY B. CLARK
                                                 Defendant-Appellant


              On Appeal from the United States District Court
           for the Northern District of Georgia, Atlanta Division,
                          No. 1: 23-cv-03721-SCJ


     BRIEF FOR DEFENDANT-APPELLANT JEFFREY B. CLARK


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 CERTIFICATE OF INTERESTED PARTIES AND CORPORATE

                        DISCLOSURE STATEMENT

   To the best of Appellant’s knowledge, no associations of persons, partnerships,

or corporations have an interest in the outcome of this case or appeal, including

subsidiaries, conglomerates, affiliates, parent corporations, any publicly held

corporation that owns 10% or more of the party’s stock.

   The following is a list, in alphabetical order, of all trial judges, attorneys, law

firms, and persons with an interest in this appeal by virtue of their appearance in the

underlying criminal matter in Fulton Superior Court:

   1. Alksne, Cynthia, amicus below

   2. Anulewicz, Christopher Scott, attorney for Robert David Cheeley

   3. Arora, Manubir, attorney for Kenneth John Chesebro

   4. Aul, Francis, attorney for Mark R. Meadows

   5. Ayer, Donald B., amicus below

   6. Barron, Lynsey M., attorney for Scott Graham Hall

   7. Beckermann, Wayne R., attorney for Robert David Cheeley

   8. Bernard, Catherine S., attorney for Defendant Jeffrey B. Clark

   9. Bever, Thomas Dean, attorney for Shawn Micah Tresher Still

   10.Bittman, Robert, attorney for Mark R. Meadows

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 12.Carr, Christopher M., Attorney General of the State of Georgia

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 15.Chesebro, Kenneth John, Defendant in Georgia v. Trump

 16.Christenson, David Andrew, pro se, denied intervention below

 17.Clark, Jeffrey Bossert, Defendant in Georgia v. Trump

 18.Cohen, Darryl B., attorney for Trevian C. Kutti

 19.Copeland, Amy, amicus below

 20.Cromwell, William Grant, attorney for Cathleen Alston Latham

 21.Cross, Anna Green, Fulton County District Attorney’s Office

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 23.Durham, James D., attorney for Mark R. Meadows in Georgia v. Trump

 24.Eastman, John Charles, Defendant in Georgia v. Trump

 25.Ellis, Jenna Lynn, Defendant in Georgia v. Trump

 26.Englert, Joseph Matthew, attorney for Mark R. Meadows

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 29.Floyd, John Earl, Fulton County District Attorney’s Office

 30.Francisco, Michael Lee, attorney for Mark R. Meadows

 31.Fried, Charles A., amicus below



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 32.Fulton County District Attorney’s Office

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 34.Gillen, Craig A., attorney for David James Shafer

 35.Giuliani, Rudolph William Louis, Defendant in Georgia v. Trump

 36.Griffin Durham Tanner & Clarkson LLC

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 39.Hall, Scott Graham, Defendant in Georgia v. Trump

 40.Hampton, Misty (a/k/a Emily Misty Hayes), Defendant in Georgia v. Trump

 41.Harding, Todd A., attorney for Harrison William Prescott Floyd

 42.Hogue, Franklin James, attorney for Jenna Lynn Ellis

 43.Hogue, Laura Diane, attorney for Jenna Lynn Ellis

 44.Jody Hunt, lawyer for Samford University and former counsel for Cassidy

    Hutchinson

 45.Jones, Steve C., U.S. District Court Judge for the Northern District of Georgia

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 47.Kelley, Emily E., attorney for Mark R. Meadows

 48.Kutti, Trevian C., Defendant in Georgia v. Trump

 49.Lake, Anthony C., attorney for David James Shafer

 50.Latham, Cathleen Alston, Defendant in Georgia v. Trump



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 51.Lee, Stephen Cliffgard, Defendant in Georgia v. Trump

 52.Little, Jennifer L., attorney for Donald J. Trump

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 54.MacDougald, Harry W., attorney for Jeffrey B. Clark

 55.McAfee, Scott, Fulton County Superior Court Judge

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 57.McGuireWoods, LLP

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 59.Moran, John S., attorney for Mark R. Meadows

 60.Morgan, John Thomas III, attorney for amici below

 61.Morris, Bruce H., attorney for Ray Stallings Smith, III

 62.Ney, Adam, Fulton County District Attorney’s Office

 63.Novay, Kristen Wright, attorney for Ray Stallings Smith, III

 64.Palmer, Amanda, attorney for Ray Stallings Smith, III

 65.Parker, Wilmer, attorney for John Charles Eastman

 66.Pierson, Holly Anne, attorney for David James Shafer

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 68.Rafferty, Brian T., attorney for Sidney Katherine Powell

 69.Ragas, Arnold M., attorney for Harrison William Prescott Floyd

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 71.Rice, Richard A., Jr., attorney for Robert David Cheeley

 72.Roman, Michael A., Defendant in Georgia v. Trump

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 74.Sadow, Steven H., attorney for Donald J. Trump

 75.Saldana, Sarah R., amicus below

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 77.Shafer, David James, Defendant in Georgia v. Trump

 78.Smith, Ray Stallings, III, Defendant in Georgia v. Trump

 79.Still, Shawn Micah Tresher, Defendant in Georgia v. Trump

 80.Terwilliger, George J., III, attorney for Mark R. Meadows

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 83.Volchok, Daniel, attorney for amici below

 84.Wade, Nathan J., Fulton County District Attorney’s Office

 85.Joycelyn Wade

 86.Wade & Campbell Firm

 87.Wakeford, Francis McDonald IV, Fulton County District Attorney’s Office

 88.Waxman, Seth P., attorney for amici below

 89.Weld, William F., amicus below

 90.Wertheimer, Fred, attorney for amici below



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 91.Willis, Fani T., Fulton County District Attorney’s Office

 92.Wilmer Cutler Pickering Hale and Dorr LLP

 93.Wooten, John William, Fulton County District Attorney’s Office

 94.Wu, Shan, amicus below

 95.Young, Daysha D’Anya, Fulton County District Attorney’s Office




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           STATEMENT REGARDING ORAL ARGUMENT

      Defendant-Appellant Jeffrey B. Clark respectfully requests oral argument

using one of the two modes set out below:

      (1) Initial Hearing En Banc: This case poses many issues that overlap with

         those presented in the petition for rehearing filed by Defendant-Appellant

         Mark R. Meadows in No. 23-12958 (pending). Simultaneously with this

         brief, we have filed a petition for this appeal to be heard initially en banc

         pursuant to Federal Rule of Appellate Procedure 35(c). The Georgia v.

         Meadows rehearing petition and the FRAP 35(c) petition filed in this case

         should be consolidated and the two cases should be argued or reargued at

         the same time.

      OR

      (2) Ordinary Panel Oral Argument: In the alternative, if the FRAP 35(c)

         petition in this case is denied (without prejudice, of course, to filing a post-

         panel decision rehearing petition), oral argument should still be granted by

         the panel in this case. One reason for this is that this appeal presents issues

         that are not present in the Georgia v. Meadows appeal.




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                               INTRODUCTION

      This case involves removal by a former federal officer of proceedings brought

against him by Fani Willis, District Attorney of Fulton County. The case was

removed on two grounds including federal-officer removal under 28 U.S.C. §

1442(a). Defendant-Appellant Jeffrey Clark, a former Assistant Attorney General at

the U.S. Justice Department who ran two of DOJ’s seven litigating Divisions during

the Trump Administration, is the removing federal official.

      Mr. Clark’s case for removal of the criminal case against him is even stronger

than that of former White House Chief of Staff Mark Meadows, (see Case No. 23-

12958), as Mr. Clark was involved only in quintessential federal government

functions—giving legal advice and debating that advice inside the walls of DOJ and

the White House. Mr. Clark was not engaged in any political campaign activity (even

assuming arguendo that could defeat Mr. Meadows’ removal). But make no mistake:

Absent the close affiliation of Clark and Meadows with President Trump, and

certainly if they had served any other President, we have no doubt their removals

would have been treated as “no brainers” and both would already be in the federal

forum that Congress was at pains to afford them.

      The day before Mr. Clark’s brief would otherwise have been due—on

December 18, 2023—a panel of this Court decided State of Georgia v. Meadows, 88

F.4th 1331 (11th Cir. 2023), surprisingly holding that former federal officers cannot



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use 28 U.S.C. § 1442(a) to remove state court cases. This ruling upends the entire

history of federal removal doctrine and practice and represents a shock to the system

of federal officer removal. We submit that the main reason run-of-the-mill federal

officer removal precedent is being fundamentally rethought in this Circuit at this

time is because President Trump and the controversies surrounding him are seen as

a brooding omnipresence. That approach is contrary to a neutral application of the

law (which should be President-blind) and, if it is not reversed by this Court en banc,

we are confident it will eventually be reversed by the Supreme Court.

      Moreover, Mr. Clark presents another ground for removal not present in

Meadows, namely that the removal below was also proper under 28 U.S.C. § 1441

because Mr. Clark removed not just the indictment against him, but the Special

Purpose Grand Jury (“SPGJ”) proceedings used as a prelude to the indictment, since

those SPGJ proceedings were civil in nature. This alternate ground for removal is

not negatively impacted by the Meadows decision. Nevertheless, in order to fully

preserve our appellate options to secure complete review (if necessary) by the U.S.

Supreme Court (as we cannot agree that Meadows was correctly decided), we

address below not just the grounds for removal that differentiate this case from

Meadows but the reasons why we think that case was wrongly decided.

      We are well aware that the panel assigned to this case may view itself as bound

by the Meadows precedent, absent some form of rehearing being granted there, or



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absent an initial grant of en banc review in this case pursuant to Federal Rule of

Appellate Procedure 35(c), or both. See Petition for Initial En Banc Hearing (filed

concurrently with this brief). However, we believe the panel here could just as likely

conclude that the Meadows panel erred by failing to follow Caver v. Central

Alabama Electric Cooperative, 845 F.3d 1135, 1142 (11th Cir. 2017) (“The first

question for federal officer removal is whether CAEC was a person “acting under”

a federal officer when it took the actions complained of in this case.” (Emphasis

added). Caver struck first. Hence, out of an abundance of caution, we opted both to

file this brief and to file our Rule 35(c) request for initial hearing en banc.

      Part I of the Argument explains why the Meadows decision is erroneous,

including that it violates Supreme Court precedent and is contrary to the plain text

of the statute, interpreted without structural reference to 28 U.S.C. § 1442(b)—

which is situated next to Section 1442(a) only because of choices made by U.S. Code

codifiers, not by the actual lawmakers in Congress. Part II of the Argument next

explains why the District Court’s remand order was erroneous, including that it held

a mini-trial on the merits that intruded upon the province of a future jury (if, once in

federal court, the District Judge did not grant a pretrial motion to dismiss). Finally,

Part III of the Argument explains why the District Court was wrong to reject the

alternative ground for removal—i.e., removing the preliminary SPGJ proceedings

as a civil matter pursuant to Sections 1331 and 1441. The District Court erred in its



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consideration of the alternate ground for removal by conflating Section 1441 with

Section 1442.

                                         ***

      Putting aside the complexities arising out of the new Meadows decision and

the alternate ground for removal, and simply viewing the case as a vanilla federal

officer removal under Section 1442, Mr. Clark plainly meets the three-part test this

Circuit has traditionally applied: (1) he was a federal officer as to the charges brought

against him; (2) his actions were taken under color of his federal office; and (3) he

presented multiple, colorable legal defenses. See Caver, 845 F.3d at 1142. The

remand decision below should be reversed.

                     STATEMENT OF JURISDI CTION

      The District Court had jurisdiction over the removed criminal proceedings

under 28 U.S.C. § 1442 and over the removed SPGJ civil proceedings under 28

U.S.C. §§ 1331 and 1441. And this Court has appellate jurisdiction over the entirety

of this case pursuant to 28 U.S.C. § 1447(d) as interpreted in BP plc v. Mayor and

City Council of Baltimore, 141 S. Ct. 1532 (2021) (holding all grounds for removal

go up on interlocutory appeal when just one of those grounds is Section 1442).

      The order of remand was entered on September 29, 2023 and the notice of

appeal was filed on October 9, 2023 (10 days after entry of the order). Hence, this

appeal is timely under the Federal Rules of Appellate Procedure regardless of



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whether Mr. Clark was obliged to remove within 30 days or instead could wait up to

60 days to remove as a federal officer.

                      STATEMENT OF THE ISSUES

   1. Did the panel in Meadows err in not recognizing that the binding prior

      precedent of this Court was Caver and that Caver requires reversal of the

      District Court’s order of remand?

   2. Relatedly, did the District Court, based on its own pre-Meadows rationale,

      legally err in remanding this federal officer case back to state court?

   3. Did the District Court err in rejecting the alternate ground for removal under

      Sections 1331 and 1441 by (a) conflating Sections 1441 and 1442; and (b)

      holding that removal of the civil Special Purpose Grand Jury proceedings was

      moot?

                       STATEMENT OF THE CASE

      Many would conceive of this case as beginning August 14, 2023 with DA

Willis’ indictment of President Trump, former Chief of Staff Mark Meadows, Mr.

Clark, the Appellant here, and 16 other defendants. In reality, the case begins much

earlier—at the start of 2022—with the creation of a Special Purpose Grand Jury

(“SPGJ”), Fulton County Superior Court Case No. 22-EX-000024.




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I.    PROCEEDINGS AND DISPOSITIONS BELOW

      A.     Special Purpose Grand Jury Proceedings, January 24, 2022 to
             September 8, 2023

      The SPGJ was authorized by the Fulton County Superior Court on January

24, 2022. Dkt.#1-11 (noting that “[t]he special purpose grand jury … may make

recommendations concerning criminal prosecution as it shall see fit”). On May 2,

2022, the SPGJ was selected and sworn in and in June 2022 began receiving

evidence. Dkt.#1-55 at 1.

      SPGJ proceedings did not end, however, until the SPGJ final report was issued

on Friday September 8, 2023, but that was 18 days after we had already removed on

August 21, 2023.1 See Dkt.#32-1.2 Additionally, the SPGJ docket reflects that, on



1  The SPGJ was ordered dissolved on January 9, 2023, Dkt.#1-138 (Order
Dissolving Special Purpose Grand Jury and Setting Hearing on Question of
Publication), but the proceedings still continued, as numerous Fulton County
Superior Court docket entries in the matter occur after that point. See, e.g., Dkt.#1-
154 (Order Entering Portions of Special Purpose Grand Jury’s Final Report Into
Court Record) (Feb. 16, 2023); Dkt.#1-156 (President Trump’s motion to quash the
final report and any evidence derived from it) (Mar. 20, 2023); Dkt.#1-161 (media
intervenors appeal seeking access to final report) (Apr. 19, 2023). And the final
report was not released until September 8, 2023 (post removal). See infra n.2.
2 The Fulton County Superior Court does not maintain an electronic system like

PACER. Hence, it is cumbersome to find documents from state court proceedings
there for purposes of attaching them to removal notices. We used best efforts to do
so as we described in the Declaration of Harry W. MacDougald. Dkt.#10; see also
Dkt.#1 at 14 n.9. In any event, since the final SPGJ report had not issued as of the
time we removed this case, we could not have included a future event as part of the
Notice of Removal. We did not file it with the Court as the Supplement to the August
21, 2023 Notice of Removal, Dkt.#31-1; see also Dkt.#31, however.


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August 16, 2023, certain media intervenors wanting to get their eyes on the final

report of the SPGJ as soon as possible filed a motion for release of that report.

Dkt.#1-186. That motion, filed only 4 days prior to the removal here, could not have

been mooted until September 8, 2023, which again fell after the Notice of Removal

had already been filed shifting exclusive jurisdiction to the Northern District of

Georgia.

      Mr. Clark had no direct visibility into the SPGJ Proceedings prior to the

indictment. He was not subpoenaed to testify before the SPGJ. Nor was he issued a

“target letter” by the DA’s Office, nor otherwise notified that he was a target or

subject of the SPGJ proceedings, though others were. Dkt.#1 at 12. We pleaded in

the Notice of Removal that the SPGJ proceedings were “inextricably linked to the

indictment action.” Id. We also pleaded that the August 14, 2023 indictment was the

first “paper” that started the removal clock under 28 U.S.C. § 1446(b)(3) even as to

the SPGJ proceedings because Mr. Clark was in the dark about being a target of

those proceedings prior to the indictment. Id. at 13.

      Many of the SPGJ proceedings involved fights over subpoenas. For instance,

several members of the Georgia General Assembly moved to quash a subpoena

issued to them on June 27, 2022. Dkt.#1-15. See also Dkt.#1-18 (State’s response,

filed June 30, 2022). The provisions of the Uniform Act to Secure the Attendance of

Witnesses from Without the State were also invoked for a number of out-of-state



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witnesses. See, e.g., Dkt.#1-23 (re: Jenna Ellis, Esq.); Dkt.#1-26 (re Senator Lindsey

Graham); Dkt.# 1-86 (re Mark Meadows).

      The Fulton DA was disqualified from proceeding against Georgia Lieutenant

Governor (then candidate Burt Jones) because she had violated conflict-of-interest

rules by holding a fundraiser for Jones’ political opponent. Dkt.#1-42 (motion to

disqualify) (July 15, 2022); Dkt.#1-55 (Order disqualifying the Fulton DA’s Office)

(July 25, 2022).

      Certain SPGJ subpoenas were also removed to federal court. Dkt.#1-43

(removal of Congressman Jody Hice); Dkt.#1-57 (removal of Senator Graham).

      B.     The Indictment, August 14, 2023.

      President Trump, Mark Meadows, Mr. Clark, and 16 other defendants were

charged with crimes by the Fulton DA in a 98-page indictment on August 14, 2023.

Dkt.#1, launching an unprecedented prosecution under the Georgia Racketeer

Influenced and Corrupt Organizations Act (“Georgia RICO”). The DA took

augmented the powers of an ordinary grand jury in Georgia with the powers of a

special purpose grand jury to carry out the underlying investigation. For the first

time in U.S. history, the President of the United States was charged with running a

criminal organization—including while he still in office.

      Count 1 of the 41-Count indictment alleges that Mr. Clark is part of a vast

Georgia RICO conspiracy running from November 4, 2020 to September 15, 2022.



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Dkt.#1-1 at 20, 71. But Mr. Clark sent his resignation letter from his position at DOJ

to President Trump on January 14, 2021 and had no connection to Georgia election

matters since that time.

      Mr. Clark is referenced in only three “Acts” of the indictment: (1) Act 98,

where he is claimed to have made false statements in a draft letter that was never

sent to Georgia or anywhere outside of DOJ or the White House; (2) Act 99, where

he is alleged to have written to other federal DOJ officials at about the draft unsent

letter; and (3) Act 110, where he took a phone call from a Georgia Bail Bondsman

on January 2, 2021. Id. at 45, 46, and 50.

      Other than his purported participation in a 19-defendant, multi-state Georgia

RICO conspiracy, Mr. Clark is charged with only one count (Count 22) for an

“attempted false writing,” whatever that is, allegedly violating O.C.G.A. §§ 16-4-1

& 16-10-20, as interpreted pursuant to O.C.G.A. § 17-2-1(b)(2). Id. at 83. Mr.

Clark’s alleged conduct runs from December 28, 2020 to January 2, 2021 (five days).

      C.     Notice of Removal, August 21, 2023

      As the Notice of Removal points out, the strategically framed indictment

leaves out many obvious points: (1) it ignores a January 3, 2021 Oval Office meeting

where President Trump declined to send the unsent draft letter (making the letter a

lousy act in furtherance of the conspiracy), Dkt.#1 at 15; (2) no specific allegations

are made as to how Mr. Clark joined the ostensible multi-state conspiracy; (3) the



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indictment leaves out that Mr. Clark was serving at the time as both the Assistant

Attorney General of the Environment and Natural Resources Division and the

Acting Assistant Attorney General of the Civil Division (the only Assistant Attorney

General running two of DOJ’s seven litigating Divisions), id. at 16-17; (4) Mr. Clark

is alleged to have proposed a course of action to his DOJ superiors in part using

DOJ’s internal email system, id. at 17-18; and (5) the indictment never explains how

taking a call from a private citizen, Mr. Hall, could possibly be a criminal act as

opposed to protected First Amendment Petition Clause activity, id. at 18.

      Mr. Clark’s Notice of Removal (as noted above) pleaded two theories: (1) he

was entitled to remove under Section 1442(a) because he was a federal officer during

the relevant period of December 28, 2020 to January 2, 2021 (id. at 21-28); and (2)

the SPGJ proceedings were civil in nature because they could not, of their own force

and without handing off the product of their investigation to an ordinary criminal

grand jury, result in an indictment (id. at 28-30).

      D.     Removal Litigation, August to Mid-September 2023

      We filed an emergency motion for a stay, Dkt.#2, confirming that the

automatic stay in 28 U.S.C. § 1446(d) applied, as that provision indicates that

Section 1441 removals establish that once removal is effectuated “the State court

shall proceed no further unless and until the case is remanded.” We also sought a

stay pursuant to 28 U.S.C. § 1455(b)(5) and an administrative stay to allow Mr. Clark



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time to oppose extradition from Virginia to Georgia. Dkt.#2. The District Court

denied the emergency stay motion on August 23, 2023, despite recognizing that

SPGJ proceedings in Georgia are civil in nature pursuant to limitations on the powers

of such a body. Dkt.#9. at 3 (“Kenerly v. Georgia, 311 Ga. App. 190, 193, 715 S.E.2d

688, 691 (2011) (reviewing Georgia law and stating that ‘[t]here is no language in

the[ ] [Georgia] Code sections granting a special grand jury the power to indict

following its investigation’).”

      The District Court concluded on August 24, 2023 that the Notice of Removal

made out a facial case supporting removal and that a summary remand under 28

U.S.C. § 1455(b)(4) was not appropriate. Dkt.#15. The same order set an evidentiary

hearing for September 18, 2023 and a briefing schedule leading up to same. Id. at 9.

      The Fulton DA filed a document styled “State of Georgia’s Response to

Defendant Jeffrey Bossert Clark’s Notice of Removal” on September 8, 2023 (quite

coincidentally the same day that the Fulton County Superior Court released the final

SPGJ report to the public). Dkt.#28. The Fulton DA argued that Mr. Clark was acting

outside the color of his office with the gravamen of that argument being that Mr.

Clark headed up two litigating Divisions of DOJ that did not have authority over

election matters. Id. at 1-2; see also id. at 9-15. Despite this, the Response indicated

that when Mr. Clark raised concerns inside DOJ about the 2020 election he was

authorized by his superiors to consult with BJay Pak, the U.S. Attorney for the



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Northern District of Georgia, an authorization that would make no sense if were not

acting under the color of his office and the supervision of his superiors (i.e., at certain

times, prior to Mr. Clark’s direct contacts with the President, giving him a whole

other, higher level of authorization to act). Id. at 6.

      Even more peculiarly, despite the indictment steering clear of the topic, the

Response recounts that Mr. Clark was in direct contact with the President, who was

interested in appointing Mr. Clark as Acting Attorney General—points that also

indicate that Mr. Clark was acting within the color of his office. 3 Id. at 6-7. The

Response also indicates that Mr. Clark was offered the position of Acting Attorney

General by the President and that he had accepted it. Id. at 7. This inherently placed

Mr. Clark’s actions and his expression of views about how election investigations

and correspondence should be handled in the zone of Mr. Clark’s official duties.

Ultimately, as the Response indicates, the President decided on January 3, 2021 (the

day scrupulously omitted from the indictment) not to send any election

correspondence to the State of Georgia and to leave Jeffrey Rosen in place as Acting

Attorney General. Id. And, as noted above, the indictment does not allege that Mr.



3 The Response did argue that Mr. Clark’s contacts with President Trump were over
the objections of his DOJ superiors. Dkt.#28 at 6. But this Court will be well aware
that the President of the United States is the head of the entire Executive Branch
established under Article II of the Constitution. It inverts that constitutional order to
imagine that President Trump cannot speak with and directly give instructions to one
of his Senate-confirmed appointees like Mr. Clark.


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Clark took any further 2020 election-related actions after the President made his

January 3, 2021 decision.

      The Response also argued that Mr. Clark could not mount any colorable

federal defenses to the indictment. Id. at 15-21. But this argument collapsed back

into the argument that Mr. Clark had been acting outside the color of his office. See

id. at 16 (defendant does not “cite authority explaining how those defenses relate to

any lawful federal activities”). See also, e.g., id. at 16-17 (attempting to defeat

Supremacy Clause immunity as a colorable defense by arguing that defendant was

“offering blatant falsehoods in an area outside of his defined scope of

responsibilities”). Relatedly, the Response erroneously ignores that under Caver,

Mr. Clark does not have to win, at the threshold removal inquiry, on his immunity

defenses in order to secure the federal court forum Congress gave him under Section

1442(a); he merely had to plead a “colorable” defense. The Response repeatedly

proceeds as if offering conclusory statements from congressional committees that

did not afford Mr. Clark due process rights to cross examine witnesses can be taken

as definitive proof and thereby defeat removal, even before defenses can be offered

for resolution by the federal factfinder. See id. at 15-21. That is not how removal

works or else notices of removal would be prolix documents equivalent to trial

orders of proof.




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      Finally, the Response argues that Mr. Clark could not remove the case under

Section 1441 because SPGJ proceedings are not civil actions. See id. at 21-22. This

ignores Kennerly (binding Georgia state precedent), which the District Court itself

had acknowledged.

      The Response also argued that because the Washington, D.C. District Court

had concluded that a bar disciplinary action brought in the District of Columbia was

not removable by Mr. Clark as a “civil action,” the SPGJ proceedings were also not

removable. See id. at 22. Beyond the fact that such disciplinary matters bear no

resemblance to SPGJ proceedings, the Fulton DA ignores that the D.C. ruling they

relied on was (and still is) on appeal, see In re Clark, No. 23-7073 (lead case) (D.C.

Cir.) (pending), and that the D.C. District Court remand order conflicts with

Kolibash v. Committee on Legal Ethics of the W. Va. Bar, 872 F.2d 571 (4th Cir.

1989) (allowing removal of a bar discipline case against a U.S. Attorney).

      Next, the Response argued that Fulton County Superior Judge McBurney had

found SPGJ proceedings to be criminal rather than civil. See Dkt.#28 at 23. But

Judge McBurney’s rulings are not Georgia precedent and the Response did not

answer the District Court’s own recognition that Kennerly was Georgia precedent.

This led the Response to argue that the SPGJ proceedings were moot because the

final report had issued. See id. at 23. Of course, the Response did not acknowledge

that the final report had been issued the selfsame day. It was not issued prior to the



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August 21, 2023 date of removal. Hence, the power over the SPGJ proceedings

transferred under 28 U.S.C. § 1446(d) to the Northern District of Georgia on August

21 and any subsequent actions by Judge McBurney were void and could not have

mooted the removal.

      We filed a document styled “Reply in Support of Removal” on September 14,

2023. Because the Response to removal filed by the Fulton DA had made clear it

was proceeding as if Mr. Clark needed to prove that he was acting within the color

of his undisputed offices at the Justice Department, we filed a declaration by Mr.

Clark, accompanied by 9 exhibits. Dkt.#42 & Dkt.##42-1 to 42-9. We also filed a

declaration by Attorney General Meese describing how internal disputes work inside

DOJ and how DOJ interacts with the President. Dkt.#48. We further filed another

collection of 21 other supporting exhibits. Dkt.#43 & Dkt.## 41-1 to 43-21. We

unpack those 30+ exhibits in the Statement of Facts below but suffice it to say to

complete the procedural picture, they further explained Mr. Clark’s theory of the

case for removal and why he was colorably acting within the scope of his position

as a high-ranking officer of the United States having direct contact with the President

and thus able to offer proposals to and engage in debates with his DOJ superiors.

      E.     The Evidentiary Hearing, September 18, 2023
      Fully intending to preserve his Fifth Amendment rights, as he is being charged

with Georgia state crimes, Mr. Clark’s lawyers arrived for the September 18, 2023



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evidentiary hearing. The facts that Mr. Clark intended to rely on were set out in his

documentary filings that were placed into the record before the evidentiary hearing.

      Lawyers for the Fulton DA objected that Mr. Clark was not present and

District Judge Jones suggested that he might cancel the hearing (which he clearly

saw as necessary) if Mr. Clark did not file a waiver of appearance under Federal

Rule of Criminal Procedure 43. See Tran. at 49. This caused one of Mr. Clark’s

lawyers to have to step out of the hearing, contact Mr. Clark, and then prepare and

file a waiver of appearance. See Dkt.#49. But this was error. The hearing was on the

threshold question of whether the case was removable—a civil case—making the

Federal Rules of Criminal Procedure inapplicable. Moreover, Rule 43 itself specifies

that it applies only to the “initial appearance, the initial arraignment, and the plea,”

“at every trial stage, including jury impanelment and the return of the verdict,” and

“sentencing.” Fed. R. Cr. P. 43(a)(1)-(3). The removal hearing was none of these

things, though its application by the District Court shows that it was conceptualizing

removal as if it were a trial-like process. See also id. at 43(b)(3) (no need to appear

at hearings on questions of law).

      Clearly anticipating use of a trial process, the District Court denied the

admission of Mr. Clark’s declaration:

      MR. MACDOUGALD: Your Honor, in our reply brief we cited Federal
      Rule of Evidence 1101, that in preliminary proceedings the Court can take
      the evidence on declarations and affidavits. And we cited a number of



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      cases around the country in which removal was found sufficiently
      demonstrated based on declarations and affidavits.
      THE COURT: I’m not going allow Mr. Clark’s declaration in. I note your
      objection for the record.

Tran. at 49:25 to 50:7.

      The District Court also initially refused to allow the declaration of former

Attorney General Edwin Meese into evidence, despite Federal Rule of Evidence

1101, though the Court was less clear about whether this was a blanket ruling or

instead applicable only to parts of it. See id. at 50:12 to 52:5. The Court then took a

short break and, when it returned, it announced, upon reconsideration, that it “will

allow it in and give it whatever weight it’s due.” 52:25 to 53:1. The Court also

announced a more modest reconsideration of its ruling as to the admissibility of Mr.

Clark’s declaration, stating “there are aspects in Mr. Clark’s declaration, like his

commission, that might qualify to come in. But right now, it’s a whole packet, so

that whole packet is not going to be allowed in.” Id. at 53:5-8. The Court acted on

the Meese and Clark declarations in this way because “there are two declarations in

Meadows I allowed in. So I think it’s only fair.” Id. 53:10-12.

      The Fulton DA then called Jody Hunt, former Assistant Attorney General of

DOJ’s Civil Division during the Trump Administration, as a live witness.4 Mr. Hunt


4 The Court should be aware that Mr. Hunt has been, at times (likely until March
2023, when he became general counsel of Samford University), a private lawyer for
Cassidy Hutchinson. Tran. 77:1-2, 10-12. Ms. Hutchinson is among the most


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was one of Mr. Clark’s predecessors in running the Civil Division. Mr. Hunt left

DOJ in July 2020, before the 2020 election. Id. at 60; 78:10-15.

      Mr. Hunt testified, in essence, that Assistant Attorney Generals of the Civil

Division lack authority over offensive election matters (i.e., criminal enforcement

against election fraud and the like). Id. at 61-65. He also testified that there is a

Justice Department memo from former Attorney General Holder that centralizes

contacts with the President to the Attorney General, Deputy Attorney General, and

Associate Attorney General. Id. at 67-68. Mr. Hunt did not testify, however, that the

Holder memo could possibly restrict the powers of the President to contact his

subordinates. He phrased matters carefully:

      Based on my experience, the purpose and intent of it [the Holder contacts
      memo] is to avoid situations where people within the White House are
      calling individual officials or officers in the Department of Justice and
      asking them to do things or directing them to do things, because when you
      get a call from the White House, understandably somebody thinks, well, I
      better do what I’m being asked to do.

Id. 69:15-21 (emphasis added). Mr. Hunt also construed a memo from former White

House Counsel Don McGahn as restricting “White House staff to the proper

communication protocols with the Department of Justice.” Id. at 70:24-25 (emphasis

added). The President is not White House staff or just any person to be found on the



celebrated witnesses that testified against President Trump to the House Select
Committee on January 6. This therefore makes Mr. Hunt self-interested in election-
related disputes concerning President Trump, Mr. Clark, and the other defendants in
the indictment, as he is aligned with the other side to the dispute.


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White House complex.

      The concluding topic of Mr. Hunt’s testimony concerned a case filed by

former Congressman Gohmert and several contingent electors from Arizona against

Vice President Pence, trying to control how he would exercise his discretion (in a

pro-Trump direction) as to 2020 election certification on January 6, 2021. Mr. Clark

was charge of defending that suit, which he did vigorously and successfully (which

runs entirely contrary to the Fulton DA’s theory that Mr. Clark joined a nefarious

conspiracy to keep Mr. Trump in office). Responding to our point that DOJ’s lines

of authority, even as a default matter, are complex and Mr. Clark clearly was

involved in a highly significant piece of election litigation, Mr. Hunt argued that Mr.

Clark was involved because he was defending the Vice President in his capacity as

a federal official. See Tran. at 72:4 to 72:19.

      Mr. Hunt conceded on cross that Justice Department officials can and do

disagree with each other. Id. at 80:9-25. More specifically, he conceded that the

Attorney General would host meetings where multiple components of DOJ hashed

out issues with one another, id. at 81:15-20, that such debates could result in briefs

or memos or letters not being sent, id. at 82:23-25 to 83:1-3, and finally that he was

not aware of any such situation leading to a participant in such an internal debate

ever being subjected to state criminal prosecution, id. at 83:4-7.




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      The hearing concluded with oral argument presented in favor of removal by

one of Mr. Clark’s lawyers. Id. at 85-110. In light of the District Court’s method of

conducting removal analysis in a trial-like mode, we submitted a post-hearing

demand for a jury trial for Mr. Clark. Dkt.#54. The removal analysis is meant to be

a threshold analysis, not the equivalent of a trial, and the factual questions, consistent

with the Sixth Amendment, must be resolved by a jury if the defendant so wishes.

By focusing on live testimony at the removal stage, excluding Mr. Clark’s

declaration, and down-weighting Attorney General Meese’s declaration, the District

Court strained Mr. Clark’s Fifth Amendment rights not to testify in matters with

potential criminal consequences and his Sixth Amendment rights to have facts found

by a jury. Proper removal analysis does not impinge on in any way, let alone strain

against those constitutional rights.

      F.     The Remand Order, September 29, 2023, and Its Aftermath
      The District Court issued its remand order on September 29, 2023. Dkt.#55.

The opening of the order is telling, as it suggests that the court was, in part,

(erroneously) making a discretionary determination: “[T]he Court DECLINES to

assume jurisdiction over the State’s criminal prosecution of Clark under 28 U.S.C.

§ 1455, DENIES Clark’s Notice of Removal of the Special Grand Jury Proceedings

under 28 U.S.C. § 1446, and REMANDS the case to Fulton County Superior Court.”

Id. at 1-2 (emphasis in original).



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      In terms of the three-part test of Caver ((1) federal officer, (2) acting under

color of his/her office, and (3) presenting a colorable federal defense), the District

Court began by finding that “Clark undisputedly served as an Assistant Attorney

General (AAG) for the United States Department of Justice (DOJ).” Dkt.#55 at 2,

10. The court agreed that the draft letter to Mr. Clark was never sent. Id. at 3. As to

Attorney General Meese’s declaration, the District Court discounted Meese’s

description of his experience running DOJ and interacting with the President because

that occurred decades before Mr. Clark’s service in the Trump Administration from

2018-2021, even though there have been no amendments to the Constitution

reducing the President’s power over DOJ in the intervening period. Id. at 3 n.4.

      The District Court began with the doctrine of federalism but recognized that

what controls are the terms of the federal-officer removal statute, which operates as

an incident of federal supremacy and is designed to provide federal officials with a

federal forum in which to raise defenses arising from their official duties.” Florida

v. Cohen, 887 F.2d 1451, 1453 (11th Cir. 1989) (citing Willingham v. Morgan, 395

U.S. 402, 405 (1969)). Dkt.#55 at 6.

      The Court acknowledged that it had to credit the removing defendant’s theory

of the case under Jefferson County v. Acker, 527 U.S. 423, 432 (1999). Dkt.#55 at

8. It also recognized that in light of a procedural development in the Meadows

appeal, some Judges on the Eleventh Circuit were thinking about whether Section



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1442(a) removal rights extended to former federal officers like Mr. Clark, but in a

footnote declined to address that dispute. Id. at 10 n.8.

      The remand order reads ambiguously when set against the oral court

pronouncements at the September 18, 2023 hearing, but the District Court, by the

time of its order, appears to have decided that it could allow Mr. Clark’s

documentary evidence into the proceeding. Dkt.#55 at 12-13 (conceding that

removal does not require “an airtight case on the merits”). This is especially true

because the District Court reiterated that it was excluding Mr. Clark’s declaration,

though it quickly followed up with a footnote suggesting in the alternative that it

would give the declaration little weight. Id. at 14 & n.11. The District Court gave a

rationale for those times when it stated it was excluding Mr. Clark’s declaration—it

“was excluded or assigned little weight [again, more ambiguity] because the witness

was not available for cross-examination.” Id. at 15. At no point, however—not in

open court on September 18, 2023, nor in its September 29, 2023 remand order—

did the District Court cite any authority (constitutional, statutory, or pursuant to case

law) that Mr. Clark had to make himself available for cross-examination. Indeed,

Mr. Clark’s right and desire to preserve his Fifth Amendment privilege is a

constitutional principle that runs directly contrary to any possible judicial conclusion

that removal (or removal evidence) must be disregarded if it cannot be subjected to

cross-examination.



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      Next, the District Court ruled that Mr. Clark had not “met his burden to show

a causal connection between his federal office and the acts alleged in the criminal

prosecution.” Dkt.#55 at 16. As we explain below, this is legal error because the

2011 amendments to the federal officer removal statutes created a “relating to” test,

displacing causation analysis, as we noted at the outset of this brief.

      The District Court construed Mr. Clark to be arguing that (1) he was acting

within the color of his office at the Civil Division; and that (2) he was not limited to

acting in his roles running two litigating Divisions, rejecting both arguments.

Dkt.#55 at 18. The court accepted the offensive-defensive distinction offered by Mr.

Hunt. Id. It reinforced that conclusion by citing the “Justice Manual,” a guidance

document        maintained       on      the       Internet     by        DOJ.       See

https://www.justice.gov/jm/justice-manual (last visited Jan. 18, 2024). Dkt#55 at 19-

20. In a footnote, the District Court held that the Civil Division’s authority over

international matters was insufficient to meet the color-of-office test. Dkt.#55 at 19-

20 n.16.

      The testimony of Mr. Clark’s former superiors to congressional committees

were cited by the District Court against Mr. Clark (ironically, despite the fact that

none of those committee processes afforded Mr. Clark the ability to cross-examine

those witnesses—something the District Court thought was a critical right to afford

the Fulton DA’s attorneys at the removal hearing). Id. at 20-21. The Court also sliced



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the onion quite thinly and rejected arguments that the Gohmert litigation gave Mr.

Clark a seat at the table on how to investigate and deal with issues involving the

2020 election, classifying that case as something other than an investigation of

election fraud. Id. at 22.

         The District Court next dealt with Mr. Clark’s argument that he could be

assigned additional duties as an Assistant Attorney General by the Attorney General

or the President. It was in this vein that Mr. Clark interacted with the President, was

authorized to interact with Mr. Pak, and was allowed to receive a national security

briefing and review a classified report from the intelligence community about

potential foreign election interference. The District Court could not stack much to

resist this tide of arguments—supported as it was by the Meese declaration—

concluding: “As required, the Court credits Clark’s theory of the case (i.e., that he

engaged in these activities while at the DOJ and the President could have reassigned

or delegated duties to Clark within the scope of DOJ’s broader delegation).” Dkt.#55

at 24.

         Nevertheless, the District Court held that Mr. Clark could not meet his burden

to remove because he had to show that the President had specifically directed him

to write a letter to Georgia. Id. at 24-25. These conclusions are infected by an

insufficient appreciation that Mr. Clark is bound by executive privilege, deliberative




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process privilege, law enforcement privilege, and attorney client privilege.5 Even if

that conclusion were correct (which we dispute), the District Court acknowledged

that the draft letter was discussed and debated in front of the President on January 3,

2021. Id. at 25. There is no evidence that the President considered the discussion he

hosted in the Oval Office to be outside of Mr. Clark’s lane at DOJ. Mr. Clark could

not even have attended the meeting had the President not authorized him to be there

and discuss the topic. Nor did the District Court consider the implication of its

holding that Mr. Clark could not remove unless he introduced evidence the President

instructed him to prepare a particular letter. This is a remarkable proposition and

presupposes that the President is hamstrung by boxes on an organizational chart and

cannot consult his Senate-confirmed officials to discuss their ideas and proposals for

presidential action.

      In light of its holding on the issue of the Caver color-of-office prong, the

District Court declined to consider whether colorable federal defenses were shown.

Dkt.#55 at 28.


5 Indeed, Mr. Clark has recently received a renewed instruction from President

Trump’s lawyer Todd Blanche, to maintain all of these privileges in litigation. See,
e.g., Kyle Cheney & Josh Gerstein, Trump Signals Intent to Block Testimony in
Jeff Clark Disciplinary Proceedings, POLITICO (Jan. 16, 2024) (citing letter
available here: https://s3.documentcloud.org/documents/24362071/ex-1.pdf) (last
visited Jan. 18, 2024). Removal should be equally available to lawyers made
defendants in state court actions where those lawyers do as they should, and act to
protect legal privileges, especially when the holder of those privileges is the
President of the United States.


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      The District Court also rejected the alternate theory for removal of the

prelude-to-indictment SPGJ proceedings under Section 1441, conflating that theory

for removal with its rejection of removal under Section 1442(a). Dkt.#55 at 29.

Turning to the topic of complete preemption, the District Court found that any

applicable preemption was only defensive in nature. Id. at 30. But this ignores that

the field of privileged and confidential internal DOJ policy discussions and debates

is not a field where there is any role for state regulation. It is, by definition,

exclusively the purview of the Article II branch of the federal government in which

a state has no cognizable regulatory interest. To bolster its decision rejecting removal

of the SPGJ proceedings, the District Court observed that those proceedings were

concluded at the time of the remand order. Id. That ignores, of course, that the

proceedings were still live when the case was removed.

      Ten days after the remand order was issued, on October 9, 2023, Mr. Clark

noticed the appeal. Dkt.#58. A stay motion filed that same day (Dkt.#59) was denied

about one month later on November 9, 2023. Dtk.#68. This Court next denied a

motion for a stay pending appeal on December 21, 2023, Doc. 26, and denied as

moot a motion to supplement that motion for stay on January 4, 2023. Doc. 28-1.

II.   STATEMENT OF FACTS
      We devote this Section to describing the significant body of evidence Mr.

Clark submitted to support removal of this case pursuant to Section 1442(a),



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including a description of the Clark declaration that the District Court largely seemed

to exclude but made ambiguous pronouncements about.

      The Clark declaration establishes that Mr. Clark was a federal officer. Dkt.#42

at 2. He attached a copy of his Commission, issued after he was confirmed on a

bipartisan basis by the Senate of the United States. Dkt. 42-1. The Commission refers

to Mr. Clark being appointed, generally, as “an Assistant Attorney General” (not as

being confined to any particular area at DOJ). Id. The declaration also establishes

that Mr. Clark’s duties were expanded from the Division he primarily went on to

supervise—the Environment and Natural Resources Division—to also encompass

supervision of a second litigating Division beginning in 2020: the Civil Division.

Dkt.#42-2. The press release by Attorney General Barr announcing that assignment

stated: “I also want to thank Jeff Clark, who has done a fantastic job leading the

Department’s Environment and Natural Resources Division, for stepping in to lead

the Civil Division after [a] departure ….” Id.

      The Clark declaration averred that Mr. Clark’s duties were fluid. That he

wrote regulations issued by the Executive Office of the President, part of the White

House. Dkt.#42 at 4. (By contrast, there is no evidence Mr. Hunt ever was assigned

or discharged any duties at the White House.) The declaration cites a news story Mr.

Clark vouched for that he defended the Gohmert litigation—something Vice

President Pence applauded in a book he wrote (noting that President Trump was less



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pleased with that aspect of Mr. Clark’s action). Id. at 5. The declaration notes that

Mr. Clark won the Gohmert litigation on New Year’s Day 2021. His participation in

the Gohmert litigation and its outcome are both judicially noticeable matters.

      Mr. Clark’s original privilege instructions are referenced in the declaration in

the form of an August 2, 2021 letter, Dkt.#42 at 6, which was recently modified on

January 4, 2024 by another lawyer for President Trump, taking account of current

circumstances, supra n.6. The fact of discussions occurred (but not the content of

those privileged discussions) between Mr. Clark, Congressman Scott Perry of

Pennsylvania, and President Trump about election integrity were set out in the

declaration based on Mr. Perry giving an interview to the press. Dkt.#42-9. Finally,

the Clark declaration averred that Mr. Clark did not take part in any Trump campaign

events and at all times acted consistent with his Justice Department duties and other

assignments. Dkt.#42 at 9-10.

      Additional facts were introduced into the record via a Notice of Filing

attaching 21 exhibits. We summarize their content and import here:

      Exh. 1: A November 9, 2020 Attorney General Barr memorandum to, among

others, all U.S. Attorneys (recall it is undisputed that Mr. Clark was connected to

Mr. Pak, a U.S. Attorney, to discuss election issues) entitled “Post-Voting Election

Irregularity Inquiries.” Dkt.#43-1.




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      Exh. 2: An email request sent by Mark Meadows, President Trump’s Chief of

Staff to Acting Attorney General Rosen asking for Mr. Clark to look at signature-

match irregularities in Fulton County, GA. Standing alone, this would seem to be

more than sufficient evidence to support removal. Dkt.#43-2.

      Exh. 3: DOJ official Richard Donoghue notes of a conversation with Mr.

Clark and Acting Attorney General Rose held on the 6th floor of Main Justice’s

SCIF to discuss classified and unclassified election matters. Dkt.#43-3. The

conversation would not have included Mr. Clark or even occurred if Mr. Clark were

not authorized to participate in it.

      Exh. 4: The Executive Order issued directing the intelligence community to

produce a report on potential foreign election interference, which Mr. Clark was

cleared to review and discuss. Dkt.#43-4.

      Exh. 5: The unclassified version of the potential foreign election interference

report. Mr. Clark was authorized to review a classified version of that report.

Dkt.#43-5.

      Exh. 6: The unclassified version of Director of National Intelligence Ratcliffe

dissenting from the intelligence community majority’s conclusions. Dkt.#43-6. Mr.

Clark was permitted to review a classified draft of that report and to have a classified

briefing with DNI Ratcliff that was held on January 2, 2021. Notes from the




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conversation among Messrs. Clark, Rosen, and Donoghue on the 6th floor SCIF of

DOJ later that day is Exhibit 3 above. Dkt.#42-6.

      Exh. 7: The unclassified version of the intelligence community Analytic

Ombudsman Barry Zulauf opinion differing from the intelligence community

majority. Mr. Clark was authorized to review a classified version of this separate

opinion. Dkt.#43-7.

      Exh. 8: A description of the role of the Cyber Security and Infrastructure

Security Agency (“CISA”) in U.S. elections, negating the Fulton County DA’s

argument (which it especially pressed against Mark Meadows) that the 2020

presidential election in Georgia was exclusively a matter for Georgia and not the

federal government. Dkt.#43-8.

      Exh. 9: A statement by former Homeland Security Secretary Jeh Johnson on

critical election infrastructure and the federal role in defending it. Dkt.#43-9.

      Exh. 10: A CISA and FBI joint bulletin that America’s adversary, Iran, had

obtained access to voter registration data, dated November 3, 2020. Dkt.#43-10.

      Exh. 11: A CISA bulleting describing vulnerabilities affecting Dominion

Voting Systems ImageCast X, dated June 3, 2022. Dkt.#43-11. As officers of the

Court we vouch that Mr. Clark had become aware of computer election system

vulnerabilities because in 2019 he attended the D.C. Circuit’s judicial conference,

which was focused on that issue. It was held in Cambridge, MD.



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      Exh. 12: A description of risk-limiting audits based on a computer tool

developed with Homeland Security Department support. Dkt.#43-12.

      Exhs. 13 & 14: Materials describing the federal role in the Uniformed and

Overseas Citizens Absentee Voting Act (“UOCAVA”) and how UOCAVA interacts

with States. Dkt.##43-13 & 43-14.

      Exh. 15: A list of the activities of multiple federal agencies under the Help

America Vote Act (“HAVA”). Dkt.#43-15.

      Exh. 16: A basic description of the federal Election Assistance Commission

(“EAC”). Dkt.#43-16. Again, these materials were submitted to rebut the Fulton

County DA’s position that Georgia exclusively controlled its elections and there was

no federal role—something the District Court stressed in its decision remanding the

Meadows removal.

      Exh. 17: A listing of EAC studies and reports on U.S. elections. Dkt.#43-17.

      Exh. 18: USA.Gov’s profession that elections in the United States trace to the

U.S. Constitution. Dkt.#43-18.

      Exh. 19: An Executive Order issued to control the use of guidance documents,

which are themselves not law. Dkt.#43-19. This was introduced to rebut the Fulton

County DA’s reliance on the Justice Manual to try to constrain the President’s

supervisory powers and contacts with DOJ officials.




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       Dkt. 20: A related Executive Order also controlling guidance documents.

Dkt.#43-20.

       Exh. 21: A copy of 52 U.S.C. § 20701, which makes it a crime to fail to

preserve presidential election records for 22 months—a factor in the Meadows email

instruction to Acting AG Rosen to have Mr. Clark look at how Fulton County had

handled the 2020 presidential election.

III.   STANDARDS OF REVIEW

       This Court conducts de novo review of the district court’s determination on

jurisdiction and removal. See Castleberry v. Goldome Credit Corp., 408 F.3d 773,

780–81 (11th Cir. 2005); Jefferson Cnty. v. Acker, 137 F.3d 1314, 1316 (11th Cir.

1998).

                    SUMMARY OF THE ARGUMENT

       Error suffuses both the panel decision in Meadows and the District Court’s

remand order below. Part I of the Argument explains why the Meadows decision is

erroneous on a host of grounds, including that it runs afoul of Supreme Court and

Circuit precedent and that it violates the expansive “relating to” test for removal

established in 2011 in Congress. At all times, Congress has responded to attempts to

cut back on federal officer removal by broadening its terms.

       Part II of the Argument next explains why the District Court’s remand order

was erroneous. This is true for several reasons: (1) the District Court’s order wrongly



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tries to turn a light-touch and threshold jurisdictional inquiry into a mini-trial on the

underlying merits, failing to recognize that it will almost always be the case that

those challenging federal officer actions in state court will argue that the federal

officer was acting ultra vires, so that fact alone cannot defeat removal or Section

1442 would shrink to pygmy status; (2) the District Court overemphasized its mini-

trial with live testimony offered by prosecutors, giving short shrift to the

documentary evidence Mr. Clark offered, including from former Attorney General

Edwin Meese, whereas Meese’s testimony, standing alone, should have been more

than enough to create a colorable defense authorizing removal; (3) the District Court

misunderstood the purpose of Section 1442(a) removals, instead putting a heavy

thumb on the scales against removal using an inapposite federalism rationale; (4) the

District Court made the same errors as the Meadows panel in ignoring the 2011

statutory amendments creating a very roomy, if not capacious “relating to” test for

removal and failing to credit Mr. Clark’s theory of removing the case.

      Part III of the Argument explains why the District Court was wrong to reject

the alternative ground for removal—removing the preliminary SPGJ proceedings as

a civil matter pursuant to Sections 1331 and 1441. The District Court held that its

rejection of the Section 1442 ground for removal necessarily doomed Section 1441

removal. But that does not logically follow. Section 1442 embraces removal of civil

cases, criminal cases, and indeed all forms of “proceedings.” Civil cases falling



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within Section 1442 do not make Section 1441 irrelevant. Additionally, the District

Court erred in holding that the SPGJ proceedings could not be removed because they

were over as of when the remand order was issued. That ignores that the removal

here was perfected before those proceedings were concluded. The District Court

should not have strained to shield the flawed civil SPGJ proceedings from review,

as the SPGJ proceedings are what the Fulton County DA used as a necessary first

investigative step that allowed her to bring the indictment.

                                  ARGUMENT

I.    THE MEADOWS PANEL ERRED IN NOT RECOGNIZING THE
      BINDING ELEVENTH CIRCUIT PRECEDENT OF CAVER,
      PURSUANT TO WHICH MR. CLARK COULD PROPERLY REMOVE
      THIS CASE AS A FORMER FEDERAL OFFICER.

      A.     The Meadows Panel Decision Should Not Be Allowed to Displace
             Prior Established Supreme Court and Circuit Precedent.

      Federal officers are given the option to remove any civil action or criminal

prosecution (or other proceeding) filed against them in state court “for or relating to

any act under color of such office.” 28 U.S.C. §1442(a)(1). This is the latest

evolution in a statute that goes back to the 1833 Force Act wherein the Supreme

Court has repeatedly told lower courts that they should avoid “a narrow, grudging

interpretation of §1442(a).” Willingham, 395 U.S. at 407. The Meadows panel itself

acknowledged that “in the 190-year history of the federal officer removal statute, no




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court has ruled that former officers are excluded from removal.” Meadows, 88 F.4th

at 1342.

      The Meadows panel ruling conflicts with the Supreme Court’s opinion in

Mesa v. California, 489 U.S. 121, 123 (1989), which states that federal officer

removal is permissible whenever a case relates to official acts by officers or those

acting on their behalf “at the time of the incidents.” The test for removal is not

temporarily limited but functionally defined. The issue is whether the acts were

official acts. These acts have their own metes and bounds that have some relation to

time in office but which are not defined predominantly by that timespan. What we

mean by that is this: (1) while Mr. Clark was in office in 2019, if he refused to pay

for an oil change for his personal vehicle, that would not be a contract dispute arising

under color of federal office and thus Mr. Clark could not remove a state court suit

against him filed by the mechanic; and (2) on any day after Mr. Clark resigned his

political appointment at DOJ, i.e., on January 15, 2021 and beyond, if he engaged in

any act it would inherently be acts undertaken in his private capacity and any suits

against him for conduct in that period would not be official acts and thus would not

be removable. However, if the Fulton County DA challenges actions Mr. Clark took

while in office, unless he were engaged in a true frolic and detour that had absolutely

no colorable official basis preventing satisfaction of one of Caver’s prongs, Mr.




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Clark can, without doubt, remove that suit. The Meadows decision to the contrary is

wrong—and contrary to Mesa.

      It is also contrary to Watson v. Philip Morris Cos., 551 U.S. 142, 147 (2007)

(someone “acting under” an officer may remove if, “in carrying out the ‘act[s] that

are the subject of the petitioners’ complaint, [he] was acting under any agency or

officer of the United States.”) (emphasis added) (cleaned up). Actions under those

who were federal officials at the time create the removal touchpoint, not whether the

federal official has left federal service or whether he has changed jobs so that he no

longer supervises a particular federal contractor. Caver is to the same effect, as it

permits removal when a defendant “was a person acting under a federal officer when

it took the actions complained of in this case,” 845 F.3d at 1142 (cleaned up)

(emphasis added).

      Caver is binding precedent that the panel should have followed rather than

creating a new rule, for first time in 190 years, disallowing removal by former federal

officers. Under this Court’s Internal Operating Procedure 2 on Federal Rule of

Appellate Procedure 36, “published opinions are binding precedent.” (Emphasis in

original.) And Caver was published, ergo the new Meadows rule violates that

published precedent—thereby justifying one or more of these forms of relief: (1) the

panel assigned to this case opting to follow Caver, as opposed to Meadows, as the




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first-decided, binding precedent; (2) granting the Meadows rehearing petition; or (3)

granting the FRAP 35(c) petition for initial en banc review of this case.

      B.     The Meadows Panel Decision Is Wrong in a Host of Respects.
      There a slew of reasons going to why the Meadows panel decision is dead

wrong:

      (1) The decision runs afoul of numerous Supreme Court decisions including

Watson and Mesa as shown in Argument Section I.A above.

      (2) There is no separate temporal component separating former from current

federal officer removals Section 1442(a) —removal depends simply on whether the

actions being challenged in state court were actions taken under color of law. No

action by Mr. Clark alleged in the indictment was taken by Mr. Clark after he left

federal office—when he inherently lost the power to act under color of law.

      (3) The core purpose of Section 1442(a) is defeated if it is not applied to

former federal officers, as doing so improbably imagines Congress wanted to allow

current federal officers to pull their federal immunity defenses over into federal court

but leave the very same sorts of immunity defenses to be adjudicated in state court

when former federal officers are involved. Immunity defenses protect federal

interests, as they are presented in litigation against federal officers, and those

interests and the reasons for protecting them continue even after the officers leave

office. See, e.g., Nixon v. Fitzgerald, 457 U.S. 731 (1982).



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      Assigning the resolution of federal defenses to state charges or civil claims

based on a federal officer’s current or former status makes no sense. Immunity is

enjoyed as to acts undertaken in office. The whole point of the statute is to guarantee

that federal courts designed to protect federal immunity will resolve such issues,

rather than state courts potentially inhospitable to defensive claims by the superior

sovereign that their federal law trumps inferior state law.

      (4) The test of causality applied by the Meadows panel (“causal nexus”) is

contrary to Section 1442(a)(1)’s broad “relating to” test created in 2011

congressional amendments to the statute. See Removal Clarification Act of 2011,

Pub. L. No. 112-51, 125 Stat. 545.

      (5) The Meadows panel decision violates the principle that the removing

officer’s theory of the case is to be credited. See Acker, 527 U.S. at 432.

      (6) Section 1442(a) allows federal contractors to remove cases and the

removal of such suits would be entirely unworkable if the right of removal ceased

once the federal contracting officer left government service or the contract’s term

formally ended, even if disputes about actions taken under the contract remain live.

Cases like Caver were premised on such a benighted approach.

      (7) Section 1442(b)’s “is, or at the time the alleged action accrued was, a civil

officer of the United States” language cannot be used to interpret the meaning of

Section 1442(a) because Sections 1442(a) and (b) were not adopted at the same time



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and were instead stuck together by codifiers, not legislators. See Fourco Glass Co.

v. Transmirra Prods. Corp., 353 U.S. 222, 227-28 (1957) (the rearrangements of

the1948 codification of Title 28 lacks substantive effect).

      (8) This Court’s decision in United States v. Pate, 84 F.4th 1196 (11th Cir.

2023) (en banc) is highly distinguishable and does not command the result reached

in Meadows. Pate involved a criminal statute strictly construed consistent with the

Due Process and the rule of lenity. See Pate, 84 F.3d at 1210 (Rosenbaum, J.,

concurring along with Chief Judge Pryor, who authored the Meadows panel

decision). By contrast, the federal-officer removal statute is to be construed broadly.

See, e.g., Symes, 286 U.S. at 157.

      AND

      (9) The policy consequences of the Meadows ruling are unthinkable and

cannot be feasibly limited to skewering only President Trump or officers who served

him. The first day after the Biden Administration ends or, alternatively, officials in

its Department of Homeland Security leave federal service, they could (for instance)

be indicted for their dereliction of duty in protecting the border of the United States

against incursions by tens of millions of illegal aliens. The resolution of federal

immunity defenses was not intended to be left to a political game of federalism ping-

pong, but instead were tied to resolution in the federal forum, achieved through

mechanism of Section 1442(a) removal.



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II.   THE DISTRICT COURT ERRED IN REJECTING FEDERAL
      OFFICER REMOVAL.
      A.     The District Court’s Evidentiary Rulings Were an Abuse of
             Discretion.

      Under Federal Rule of Evidence 1101(d)(3), evidence rules are relaxed in

“miscellaneous proceedings.” The hearing contemplated by 28 U.S.C. § 1455(b)(5)

is such a miscellaneous proceeding. See Stallings v. Georgia-Pac. Corp., No. 3:12-

CV-00724-H, 2013 WL 1563231, at *3 (W.D. Ky. Apr. 12, 2013) (“Defendants can

meet their evidentiary obligations to sustain their notice of removal with declarations

and affidavits, depending on the content and source of the information contained

therein.”).6 See Fed. R. Civ. P. 43(c) (Evidence on a Motion. When a motion relies

on facts outside the record, the court may hear the matter on affidavits or may hear

it wholly or partly on oral testimony or on depositions.”). The Notice of Removal

also removed the civil SPGJ proceedings, making FRCP 43(c) applicable as well.

      The District Court never grappled with these authorities, instead charting its

own course demanding proceeding by way of a mini-trial on removal and penalizing

Mr. Clark for exercising his Fifth Amendment right not to be compelled to testify at




 6 See also Hagen v. Benjamin Foster Co., 739 F. Supp. 2d 770, 773 (E.D. Pa. 2010)

 (affidavits sufficient to establish removal in federal contractor case); Hilbert v.
 McDonnell Douglas Corp., 529 F. Supp. 2d 187, 196–97 (D. Mass. 2008);
 Machnik v. Buffalo Pumps, Inc., 506 F. Supp. 2d 99, 103 (D. Conn. 2007) (using
 affidavits in removal).



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a hearing with potential criminal law consequences and his Sixth Amendment right

to a jury trial to find the facts concerning Fulton County’s indictment. “[A]n

evidentiary ruling on an erroneous view of the law constitutes an abuse of discretion

per se.” Bearint ex rel. Bearint v. Dorell Juv. Grp., Inc., 389 F.3d 1339, 1345 (11th

Cir. 2004). For these reasons, the District Court’s evidentiary rulings concerning

federal office removal questions applied the wrong legal standard and were an abuse

of discretion. Those findings can be afforded no deference on either a de jure or on

a de facto basis.

      B.     The District Court’s Federal Officer Removal Rulings Are
             Incorrect.

      The federal officer removal statute shields the supremacy of the federal

government against encroachment and incursions by state and local governments.

“It scarcely need be said that such measures [i.e., the federal officer removal statute]

are to be liberally construed to give full effect to the purposes for which they were

enacted.” Colorado v. Symes, 286 U.S. 510, 517 (1932) (emphasis added). “In cases

like this one, Congress has decided that federal officers, and indeed the federal

government itself, require the protection of a federal forum. This policy should not

be frustrated by a narrow, grudging interpretation of § 1442(a)(1).” Willingham, 395

U.S. at 407. See also Tennessee v. Davis, 100 U.S. 257, 262- 63 (1879). “‘[T]he

removal statute ‘is broad enough to cover all cases where federal officers can raise a

colorable defense arising out of their duty to enforce federal law. In fact, one of the


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most important reasons for removal is to have the validity of the defense of official

immunity tried in a federal court.’” Mesa v. California, 489 U.S. 121, 133 (1989)

(emphasis added) citing Willingham, 395 U.S. at 406-07.

       All three prongs of the Caver removability analysis is easily met here:

      1. Mr. Clark Is a Federal Officer. The District Court conceded that Mr. Clark was

a federal officer. Dkt.# 55 at 10.

       2. Mr. Clark Was Acting Within the Color of His Federal Office. The District

Court erred, however, in concluding that Mr. Clark’s responsibilities were limited to

running the Environment and Natural Resources and Civil Divisions at DOJ. Mr.

Clark was one of the ten “fungible” Assistant Attorney Generals. See 28 U.S.C. §

506; Meese Declaration, Dkt.# 48, pp. 5-7. Mr. Clark had previously been assigned

duties at the White House and the President had directly consulted with him about

the 2020 election, as it was undisputed Congressman Perry told the press.

       Most critically, Mark Meadows specifically directed the Acting Attorney

General to have Mr. Clark investigate Fulton County, Georgia signature matching

problems and the Acting Attorney General both authorized Mr. Clark to receive a

national security briefing and review a classified report about potential foreign

interference in the 2020 election and to discuss law enforcement matters concerning

the election with U.S. Attorney Pak. Dkt.# 30-1, p. 129-130; 153. For these reasons,

it was an error of law and fact for the District Court to hold that Mr. Clark could not



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meet the light, “relating to” test applicable to the color-of-law prong of the Caver

federal officer removal analysis. Caver, 845 F.3d at 1144 (“The hurdle erected by

this requirement is quite low ….”).

      While the District Court purported to credit Mr. Clark’s theory of the case, in

reality, the District Court erroneously credited the State’s theory of the case by

emphasizing Mr. Hunt’s testimony (even though Mr. Hunt knew nothing of the

particular facts involving Mr. Clark, as he had left DOJ months before the 2020

election). Dkt.#55 at 5, 18-20. The District Court also wrongly relied on the Justice

Manual to keep Mr. Clark tied to a stovepipe, ignoring evidence that Mr. Clark had

been given particular authorities by virtue of the President’s discussions with him

and by specific directive of the Acting Attorney General, which expanded Mr.

Clark’s authorities beyond the Justice Manual (which in any event can have no

binding effect on the President’s ultimate Take Care Clause authority, see U.S.

Const., art. II, § 3, cl. 8). Supreme Court authority requires crediting the officer’s

theory of the case. See Osborn v. Haley, 549 U.S. 225, 249–50 (2007); Jefferson

Cnty. Ala. v. Acker, 527 U.S. 423, 432 (1999); Texas v. Kleinert, 855 F.3d 305, 312

(5th Cir. 2017). Acker prohibits District Courts from denying removal by effectively

prejudging the merits. See Acker, 527 U.S. at 432 (“To choose between those readings

of the Ordinance [the officer’s versus a county’s] is to decide the merits of this case.”).




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      Here, both the indictment and Mr. Clark’s Notice of Removal show that he is

being state prosecuted for or relating to acts under the color of his office—actions

he took as a double Assistant Attorney General in composing a draft letter—sending

it to and discussing it with his superiors at DOJ under highly privileged and

confidential circumstances.

      The District Court in this case also created an internal District Court split by

refusing to apply the correct approach used in Georgia v. Heinze, 637 F. Supp. 3d

1316 (N.D. Ga. 2022), which rebuffed opposition to removal by the Fulton County

DA operating on the same theories Judge Jones adopted here as pushed by the same

DA’s Office:

      The Court finds that this argument [that the defendants had violated the
      Fourth Amendment] concerns the merits of the criminal charges
      against the Defendants and is irrelevant to whether the Defendants
      acted under the color of federal authority for removal purposes. See e.g.
      Screws v. United States, 325 U.S. 91, 111 (1945) (“Acts of officers who
      undertake to perform their official duties are included [under the color of
      law] whether they hew to the line of their authority or overstep it.”); [see
      also] United States v. House, 684 F.3d 1173, 1200 (11th Cir. 2012).

Heinze, 637 F. Supp. 3d at 1324 (emphasis added).

      The test is not whether the federal officer’s conduct violated state law; it is

whether it fell within his federal authority. See Seth P. Waxman and Trevor W.

Morrison, What Kind of Immunity? Federal Officers, State Criminal Law, and the

Supremacy Clause, 112 YALE L.J. 2195, 2233-34 (2003). And Mr. Clark’s actions




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as a lawyer recommending a course of action and debating it in privileged confines

was well within his federal authority.

      The District Court repaired at several junctures to federalism principles when

it “decline[d] to assume jurisdiction over the State’s criminal prosecution,” Dkt.#55

at 1. This traces back to how the District Court dealt with the Meadows removal,

where it stated that “[t]here is a “‘strong judicial policy against federal interference

with state criminal proceedings.’ Arizona v. Manypenny, 451 U.S. 232, 243 (1981)

(quoting Huffman v. Pursue, Ltd., 420 U.S. 592, 600 (1975)).” But the Supreme Court

did not say this to block, condition, or narrow a federal officer removal, but only to

emphasize that States could appeal the merits when they lost on immunity in

removed federal officer cases. See Manypenny, 451 U.S. at 243 (“No further purpose

of the removal statute would be served by denying the State a right to seek review

when that very right is available under applicable state law.”).

      In opposing our request for emergency relief to avoid Mr. Clark having to

travel to Georgia to submit to arrest, the State argued (without rebuttal because we

were denied a reply brief) that staying Mr. Clark’s arrest (contrary to cases above on

federal immunity) would violate Younger abstention and the Anti-Injunction Act.

Dkt.#8 a 9-12. Both assertions are dead wrong—and they are responsible for

misleading the District Court. See In re Commonwealth’s Motion to Appoint Counsel

Against or Directed to Defender Ass’n of Phila., 790 F.3d 457, 475 n.10 (3d Cir.



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2015) (“The Commonwealth has pointed us to no courts that have exercised Younger

abstention where the federal officer removal statute grants jurisdiction.”); Erwin

Chemerinsky, FEDERAL JURISDICTION, § 11.2, at 775-76 Injunctions in Aid of

Jurisdiction (6th ed. 2012) (explaining removal expressly authorizes injunctions and

thus falls outside of the Anti-Injunction Act) (citing 28 U.S.C. § 2283 (Reviser’s

Note) & Mitchum v. Foster, 407 U.S. 225, 234-37 (1972) (removal as a situation

where there is an express authorization of injunction); Dietzsch v. Huidekoper, 103

U.S. 494 (1880) (removal as exception to the Anti-Injunction Act)”). There is no

basis for engaging in an inapposite federalism-balancing analysis. The issue is

conclusively resolved by federal supremacy and approximately 200 years of removal

statutes and case law.

      3. Mr. Clark Possesses One or More Colorable Federal Defenses. The

District Court declined to reach the third prong under Caver (whether Mr. Clark had

pleaded a colorable defense). But it should have been reached because District

Courts should not be permitted to piecemeal out rulings on the three prongs of

federal-officer removal analysis, thereby allowing a state prosecution to keep

advancing down the tracks as a removal dispute pings up and down on each prong

of the removal test. In any event, the record and the Notice of Removal contain more

than enough information to meet the “quite low” bar to meet this prong.




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      Under the U.S. Constitution, the President of the United States, not the

Attorney General is the chief law enforcement officer under the Take Care Clause

because he alone is head of the entire Executive Branch. The Constitution vests all

federal law enforcement power and prosecutorial discretion in the President. The

President’s discretion in these areas has long been considered “absolute,” and his

decisions exercising this discretion are presumed regular and are generally deemed

non-reviewable. See, e.g., United States v. Armstrong, 517 U.S. 456, 464 (1996);

United States v. Nixon, 418 U.S. 683, 693 (1974); see generally Saikrishna Prakash,

The Chief Prosecutor, 73 GEO. WASH. L. REV. 521 (2005). To assist the President,

he has the right to receive full and frank advice from his advisors. The Opinion

Clause imposes on senior federal officers like Mr. Clark a reciprocal duty to provide

such advice upon request. See U.S. Const., art. II, § 2, cl. 1 (Opinion Clause); see

generally Neil Thomas Proto, Opinion Clause and Presidential Decision-Making,

44 MISSOURI LAW REVIEW. 185 (1979).

      In this case, the U.S. Constitution does not allow any state/local government

to examine or otherwise regulate the internal deliberations that occur on a daily basis

among the President, his office, and senior government officials, including the

Acting Attorney General, officials in the Deputy AG’s Office, or any Assistant

Attorneys General. Review of the content, direction, and wisdom of policy

discussions falls within the President’s exclusive sphere, U.S. Const. art. II § 1, cl. 8



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(Take Care Clause); art. II § 2, cl. 1 (Opinion Clause); art. II § 2, cl. 2 (Appointments

Clause). See also Nixon v. Fitzgerald, 457 U.S. 731 (the President’s “absolute

immunity” extends to acts “within the ‘outer perimeter’ of his official duties”);

Klayman v. Obama, 125 F. Supp. 3d 67 (2015) (sovereign immunity bars RICO

action against President and former Secretaries of State for actions taken in their

official capacities); Chugtai v. Obama, 153 F. Supp. 3d 765 (E.D. Pa. 2015)

(President and Air Force officials absolutely immune from Title VII and tort claims).

       The Supremacy Clause therefore bars enforcement of any state’s criminal law

against Mr. Clark based on the content of his confidential internal deliberations at

the Department of Justice or with the President. This element of federal supremacy

has been clear since McCulloch v. Maryland, 17 U.S. (4 Wheat.) 316, 427 (1819).

III.   THE DISTRICT COURT ERRED IN REJECTING REMOVAL OF THE
       CIVIL SPECIAL PURPOSE GRAND JURY PROCEEDINGS UNDER
       28 U.S.C. §§ 1331 & 1441.
       This case was properly removed under 28 U.S.C. §§ 1331 & 1441, making

this Court’s recent Meadows decision, even if it were correctly decided, insufficient

to require remand to state court.

       28 U.S.C. § 1441(a) provides as follows:

       Except as otherwise expressly provided by Act of Congress, any civil
       action brought in a State court of which the district courts of the United
       States have original jurisdiction, may be removed by the defendant or the
       defendants, to the district court of the United States for the district and
       division embracing the place where such action is pending.
Section 1441(a) applies here, for this proceeding is, at least in part, a “civil action.”


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This is true because Georgia law itself characterizes SPGJ proceedings as civil in

nature under Kenerly—a point the District Court never disputed.

      This District Court possesses original federal question jurisdiction over this

in-part “civil action” because the attempted civil inquiry into and regulation of a

Justice Department lawyer at issue here is completely preempted. Complete federal

preemption overrides invocations of the “well-pleaded complaint rule.” See, e.g.,

Vaden v. Discover Bank, 556 U.S. 49, 56 (2009).

      More specifically, Georgia is entirely fenced out of trying to regulate federal

U.S. Justice Department lawyers engaged in internal deliberations or in their

interactions with citizens seeking redress of grievances by the federal government.

See, e.g., Cunningham v. Neagle, 135 U.S. 1, 76 (1890) (federal official engaging in

his duties “is not liable to answer in the court of [a State]”). See also Tennessee v.

Davis, 100 U.S. 257, 266-67 (1880) (“The removal of cases arising under those

[federal laws] laws from state into federal courts is therefore no invasion of state

domain.”). See also id. at 262-63 (“If, when thus acting and within the scope of their

authority, those officers can be arrested and brought to trial in a state court for an

alleged offense against the law of the state, yet warranted by the federal authority

they possess, and if the general government is powerless to interfere at once for their

protection — if their protection must be left to the action of the state court — the




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operations of the general government may at any time be arrested at the will of one

of its members.”) (emphasis added).

      “In concluding that a claim is completely preempted, a federal court finds that

Congress desired not just to provide a federal defense to a state-law claim but also

to replace the state-law claim with a federal law claim and thereby give the defendant

the ability to seek adjudication of the claim in federal court.” Wright, Miller &

Cooper, 14C FED. PRAC. & PROC. JURIS. § 3722.2, Removal Based on Federal-

Question Jurisdiction—Removal Based on Complete Preemption (Rev. 4th ed.

(updated as per Westlaw)). Here, the rationale for complete preemption is even

stronger because regulating and investigating U.S. Justice Department lawyers is

inherently a federal role—and not a state role. At least it is not a state role in the

absence of a clear delegation to Georgia. And there is no such delegation to Georgia

applicable here, or to Fulton County, and at no time did the Fulton DA attempt to

overcome this staggering gap in her authority.

      Preemption as a defense is involved only where it is plausible that a State

possesses concurrent jurisdiction over a particular subject matter. Only exceptionally

comprehensive statutory regimes like the Employee Retirement Income Security Act

of 1974 (“ERISA”) can overcome the ordinary presumption that, in economic

matters where Congress regulates pursuant to the Commerce Clause, the States are

concurrently allowed to wield their police powers. See Butero v. Royal Maccabees



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Life Ins. Co., 174 F.3d 1207, 1212 (11th Cir.1999) (“When Congress

comprehensively occupies a field of law, ‘any civil complaint raising this select

group of claims is necessarily federal in character’ and thus furnishes subject-matter

jurisdiction under 28 U.S.C. § 1331.”) (quoting Metro. Life Ins. Co. v. Taylor, 481

U.S. 58, 63–64 (1987)).

      But the Justice Department is part of the Article II Executive Branch of the

federal government! Its internal deliberations are not subject to any kind of

presumption of state police power regulation. Allowing state regulation to intrude

into that area would breach the Supremacy Clause and put the federal government

under the thumb of state governments. Additionally, complete preemption cases

ordinarily arise, as Butero notes, when Congress acts to occupy the field. But here

it is the Constitution, pursuant to which the Justice Department exercises the

delegated Take Care Clause powers of the President to enforce the laws of the United

States, which occupies the field and dictates that federal questions are unavoidably

involved in the Fulton DA’s actions directed at Mr. Clark, thereby ineluctably

placing them within the span of Section 1331 federal question jurisdiction.

      The issue here is not whether a statute bars Georgia’s civil SPGJ proceedings

but whether the Constitution bars the intrusion. For this reason, the District Court

erred in holding that “[h]ere, Clark did not cite to any federal statute or congressional

action that would completely preempt the State’s SGJP.” Dkt.#55 at 30. Moreover,



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congressional action was never the basis for the complete preemption argument we

made below. Article II of the Constitution’s occupation of the field was the basis of

the argument. It is for good reason that there has never been a case in the annals of

American law in which the actions of a U.S. Department of Justice lawyer

(especially a high-ranking, Senate-confirmed lawyer) were ever questioned in a state

civil proceeding, deployed as a prelude to a state criminal prosecution, attempting to

penalize internal DOJ deliberations that never projected power inside state borders.

      Finally, the District Court also erred in holding that the SPGJ proceedings

were moot, Dkt.#55 at 30, because they were not moot at the time of removal. Hence,

the Fulton County Superior Court lacked the power, post-removal, to terminate the

proceedings. After removal was effectuated, only the District Court had the power

to terminate those proceedings and Mr. Clark (and all parties to the case) would have

had the power to contest the termination. Moreover, the District Court failed to

apprehend that the removal of the SPGJ proceedings brought the Federal Rules of

Civil Procedure into play, which would have granted Mr. Clark and other defendants

the right to seek discovery into those proceedings—including by filing

interrogatories, seeking admissions, and taking depositions to get more visibility into

how those proceedings were conducted.




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                                 CONCLUSION

      The District Court’s September 29, 2023 remand order should be reversed

with instructions to notify the Fulton County Superior Court to halt all further action

in the prosecution initiated by the indictment pursuant to 28 U.S.C. § 1455(b)(5).

Additionally, this Court should instruct the District Court that the Federal Rules of

Civil Procedure are applicable to the removed Special Purpose Grand Jury

proceedings and that, as a party targeted in those proceedings, Mr. Clark may use

those processes to inquire into same and otherwise seek relief against them.

      Respectfully submitted, this 19 day of January, 20244.

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                       CERTIFICATE OF SERVI CE
      I certify that a copy of the foregoing document was hereby filed on this 19 day

of January 2024 with the Court’s electronic filing system, which causes service to

be made upon all counsel of record.



This 19 day of January, 20244.

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                     CERTIFICATE OF COMPLIANCE

        I hereby certify that this brief complies with Fed. R. App. P. 32(a)(7)(B)

because it contains 12,975 words, excluding the portions of the brief exempted by

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